                             U.S. District Court
                    North Carolina Middle District (NCMD)
             CRIMINAL DOCKET FOR CASE #: 1:22−mj−00523−LPA−1
                             Internal Use Only

Case title: USA v. COLEMAN                                      Date Filed: 12/22/2022

Other court case number: 5:22mj1969 Eastern District of North
                         Carolina

Assigned to: MAG/JUDGE L.
PATRICK AULD

Defendant (1)
DAVID D. COLEMAN                       represented by LISA S. COSTNER
                                                      Federal Public Defender − NCM
                                                      251 N. Main St., Ste 849
                                                      WINSTON−SALEM, NC 27101
                                                      336−631−5172
                                                      Email: lisa_costner@fd.org
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Public Defender or Community
                                                      Defender Appointment

Pending Counts                                        Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                     Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                            Disposition
Rule 5 Arrest



Plaintiff



            Case 1:22-mj-00523-LPA Document 5 Filed 12/27/22 Page 1 of 8
USA                                         represented by ASHLEY E. WAID
                                                           UNITED STATES ATTORNEY'S
                                                           OFFICE
                                                           101 SOUTH EDGEWORTH STREET,
                                                           SUITE 400
                                                           GREENSBORO, NC 27401
                                                           336−332−6323
                                                           Email: ashley.waid@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: United States Attorney

Date Filed   # Page Docket Text
12/22/2022           Arrest (Rule 5) of DAVID D. COLEMAN. (Kemp, Donita) (Entered:
                     12/22/2022)
12/22/2022           Minute Entry for proceedings held before MAG/JUDGE L. PATRICK AULD:
                     INITIAL APPEARANCE IN RULE 5 PROCEEDINGS as to DAVID D.
                     COLEMAN held on 12/22/2022. Defendant advised of rights and charges.
                     Defendant waived his right to an Identity Hearing and a preliminary hearing in
                     the Middle District of North Carolina; The Government agrees to conditions of
                     release and the defendant is ordered Released after processing; Defendant
                     instructed to appear in the Eastern District of North Carolina at 8:00 AM on
                     1/4/2023 for further proceedings; Order Setting Conditions of Release
                     forthcoming. (AUSA Ashley Waid; Counsel for defendant AFPD Lisa Costner;
                     Proceedings Recorded) (Kemp, Donita) (Entered: 12/22/2022)
12/27/2022   1       SEALED FINANCIAL AFFIDAVIT by DAVID D. COLEMAN. (Sheets, Jamie)
                     (Entered: 12/27/2022)
12/27/2022   2       ORDER appointing Assistant Federal Public Defender LISA S. COSTNER for
                     DAVID D. COLEMAN. Signed by MAG/JUDGE L. PATRICK AULD on
                     12/22/2022. (Sheets, Jamie) (Entered: 12/27/2022)
12/27/2022   3       WAIVER of Rule 5 & 5.1 Hearing by DAVID D. COLEMAN. (Sheets, Jamie)
                     (Entered: 12/27/2022)
12/27/2022   4       ORDER Setting Conditions of Release for DAVID D. COLEMAN. Signed by
                     MAG/JUDGE L. PATRICK AULD on 12/22/2022. (Sheets, Jamie) (Entered:
                     12/27/2022)




       Case 1:22-mj-00523-LPA Document 5 Filed 12/27/22 Page 2 of 8
MIME−Version:1.0
From:ECF@ncmd.uscourts.gov
To:ecf@ncmd.uscourts.gov
Bcc:
−−Case Participants: ASHLEY E. WAID (ashley.waid@usdoj.gov, shaquitta.johnson@usdoj.gov,
usancm.ecfcriminal@usdoj.gov), MAG/JUDGE L. PATRICK AULD
(david_levintow@ncmd.uscourts.gov, judge_auld@ncmd.uscourts.gov,
kimberly_garrett@ncmd.uscourts.gov, sinead_o'doherty@ncmd.uscourts.gov,
wanda_williamson@ncmd.uscourts.gov)
−−Non Case Participants: Probation Office (duty@ncmp.uscourts.gov), U. S. Marshal's Office
(breanna.wilton@usdoj.gov, ecf.usmsncm@usdoj.gov, jeannie.helms@usdoj.gov,
jessica.williams2@usdoj.gov, michael.montalvo@usdoj.gov)
−−No Notice Sent:

Message−Id:3736233@ncmd.uscourts.gov
Subject:Activity in Case 1:22−mj−00523−LPA USA v. COLEMAN Arrest − Rule 5
Content−Type: text/html

                                          U.S. District Court

                                    North Carolina Middle District

Notice of Electronic Filing


The following transaction was entered on 12/22/2022 at 2:58 PM EST and filed on 12/22/2022

Case Name:       USA v. COLEMAN
Case Number:     1:22−mj−00523−LPA
Filer:
Document Number: No document attached
Docket Text:
Arrest (Rule 5) of DAVID D. COLEMAN. (Kemp, Donita)


1:22−mj−00523−LPA−1 Notice has been electronically mailed to:

ASHLEY E. WAID &nbsp &nbsp ashley.waid@usdoj.gov, shaquitta.johnson@usdoj.gov,
usancm.ecfcriminal@usdoj.gov

1:22−mj−00523−LPA−1 Notice will not be electronically mailed to:




         Case 1:22-mj-00523-LPA Document 5 Filed 12/27/22 Page 3 of 8
MIME−Version:1.0
From:ECF@ncmd.uscourts.gov
To:ecf@ncmd.uscourts.gov
Bcc:
−−Case Participants: ASHLEY E. WAID (ashley.waid@usdoj.gov, shaquitta.johnson@usdoj.gov,
usancm.ecfcriminal@usdoj.gov), MAG/JUDGE L. PATRICK AULD
(david_levintow@ncmd.uscourts.gov, judge_auld@ncmd.uscourts.gov,
kimberly_garrett@ncmd.uscourts.gov, sinead_o'doherty@ncmd.uscourts.gov,
wanda_williamson@ncmd.uscourts.gov)
−−Non Case Participants: Probation Office (duty@ncmp.uscourts.gov)
−−No Notice Sent:

Message−Id:3736269@ncmd.uscourts.gov
Subject:Activity in Case 1:22−mj−00523−LPA USA v. COLEMAN Initial Appearance − Rule 5
Content−Type: text/html

                                          U.S. District Court

                                    North Carolina Middle District

Notice of Electronic Filing


The following transaction was entered on 12/22/2022 at 3:09 PM EST and filed on 12/22/2022

Case Name:       USA v. COLEMAN
Case Number:     1:22−mj−00523−LPA
Filer:
Document Number: No document attached
Docket Text:
 Minute Entry for proceedings held before MAG/JUDGE L. PATRICK AULD: INITIAL
APPEARANCE IN RULE 5 PROCEEDINGS as to DAVID D. COLEMAN held on 12/22/2022.
Defendant advised of rights and charges. Defendant waived his right to an Identity Hearing
and a preliminary hearing in the Middle District of North Carolina; The Government agrees to
conditions of release and the defendant is ordered Released after processing; Defendant
instructed to appear in the Eastern District of North Carolina at 8:00 AM on 1/4/2023 for
further proceedings; Order Setting Conditions of Release forthcoming. (AUSA Ashley Waid;
Counsel for defendant AFPD Lisa Costner; Proceedings Recorded) (Kemp, Donita)


1:22−mj−00523−LPA−1 Notice has been electronically mailed to:

ASHLEY E. WAID &nbsp &nbsp ashley.waid@usdoj.gov, shaquitta.johnson@usdoj.gov,
usancm.ecfcriminal@usdoj.gov

1:22−mj−00523−LPA−1 Notice will not be electronically mailed to:




         Case 1:22-mj-00523-LPA Document 5 Filed 12/27/22 Page 4 of 8
Case 1:22-mj-00523-LPA Document 2
                                5 Filed 12/27/22 Page 15 of 18
Case 1:22-mj-00523-LPA Document 3
                                5 Filed 12/27/22 Page 1
                                                      6 of 1
                                                           8
Case 1:22-mj-00523-LPA Document 4
                                5 Filed 12/27/22 Page 1
                                                      7 of 2
                                                           8
Case 1:22-mj-00523-LPA Document 4
                                5 Filed 12/27/22 Page 28 of 28
